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UNlTED STATES OF AMERlCA w § md MBM

P|aintiff

vs.
cR. No. 05-20066_0
05-20071-0/
ner wiLLlAMsoN

Defendant.

 

oRDER oN coNTlNuANcE AND sPEchY\NG PERloo oF ExcLuDABLE DELAV
AND S_E___TT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6. 2005 with
a report date of Thursdag¢l August 25, 2005l at 9:00 a.m., in Courtroom 3, 9th Floor of
the Federa| Building, Nlemphis, TN.

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

IT is so oRDERED this {Q“\'e\day of July, 2005.

|CE B. DONALD

UN|TED STATES D|STR|CT JUDGE
Thls document entered on the d k
with Flu|e 55 andfor 32(5) FHCrpO;net She n Ce

   

UNITED sATE DISTRICT COURT - WE"RNT DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

